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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


Margaret Byrne,
                                                         Case No. 0:21-cv-2516
       Plaintiff,
v.
                                                             COMPLAINT
Hunter Warfield, Inc., and
Nationwide Housing Corporation,                       JURY TRIAL DEMANDED

       Defendants.


                                   INTRODUCTION

1.    The United States Congress has found abundant evidence of the use of abusive,

      deceptive, and unfair debt collection practices by many debt collectors, and has

      determined that abusive debt collection practices contribute to the number of

      personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of

      individual privacy. Congress wrote the Fair Debt Collection Practices Act, 15

      U.S.C. § 1692 et seq., to eliminate abusive debt collection practices by debt

      collectors, to ensure that those debt collectors who refrain from using abusive debt

      collection practices are not competitively disadvantaged, and to promote consistent

      State action to protect consumers against debt collection abuses.

2.    This action arises out of violations of the Fair Debt Collection Practices Act

      (“FDCPA”), 15 U.S.C. § 1692 et seq., and violations of the Fair Credit Reporting

      Act (“FCRA”), 15 U.S.C. § 1681 et seq., by Defendant Hunter Warfield and its

      collection agents in their illegal efforts to collect a consumer debt from Plaintiff.



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3.    This action also arises out of Defendant Nationwide’s negligence, nuisance, and

      breach of contract under Minnesota law which led to this consumer debt.

                                     JURISDICTION

4.    Jurisdiction of this Court arises under U.S.C. § 1692k(d), 15 U.S.C. § 1681, and 28

      U.S.C. § 1367 for any supplemental state law claims.

5.    Venue is proper because the acts and transactions occurred here, Plaintiff resides in

      Minnesota, and Defendants transact business here.

6.    Defendant Hunter Warfield has transacted business within the State of Minnesota

      by attempting to collect a debt from Plaintiff via the telephone and mails for a debt

      that was allegedly incurred while Plaintiff was located within and permanently

      residing within the State of Minnesota.

7.    Defendant Hunter Warfield has transacted business within the State of Minnesota

      by operating a licensed collection agency, making collection calls into Minnesota,

      and directing debt collection activities to Minnesota and attempting to collect a debt

      from Plaintiff by falsely reporting this alleged debt on her consumer credit report while

      Plaintiff was located within and permanently residing within the State of Minnesota.

8.    Defendant Nationwide has transacted business within the State of Minnesota by

      owning, renting, and managing apartments in Minnesota.

9.    Defendant Nationwide has incorporated itself in the State of Minnesota.

                                        PARTIES

10.   Plaintiff Margaret Byrne (hereinafter “Plaintiff”) is a natural person who resides in

      the City of Saint Paul, County of Ramsey, State of Minnesota, and is a “consumer”


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      as that term is defined by 15 U.S.C. § 1692a(3), and a “consumer” as that term is

      defined by 15 U.S.C. § 1681a(c), or a person affected by a violation of those laws.

11.   Plaintiff has suffered an injury in fact that is fairly traceable to Defendant’s conduct

      and that is likely to be redressed by a favorable decision in this matter.

12.   Defendant Hunter Warfield, Inc. ( “Hunter Warfield”) is a collection agency operating

      from an office address of 4620 Woodland Corporate Blvd., Tampa, FL 33614, and is

      a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6), is a “person” as

      defined in 15 U.S.C. § 1681a(b) and a “furnisher” of consumer information pursuant

      to 15 U.S.C. § 1681s-2(b).

13.   Defendant Nationwide Housing Corporation (“Nationwide”) is a Minnesota

      corporation and an apartment rental company, doing business as Thomas Lake Pointe

      Apartments, LLC, from a principal business address of 6200 Shingle Creek Parkway,

      Suite 300, Brooklyn Center, MN 55430.

                  PURPOSE OF THE FAIR CREDIT REPORTING ACT

14.   Consumer credit plays a major role in the lives of American consumers entering into

      the American marketplace and the economic system in general. Fair and accurate

      credit reporting acts as a gatekeeper to credit purchases, employment and income,

      basic commercial services, insurance coverage, housing rentals, and a broad range

      of other transactions. Robert J. Hobbs & Stephen Gardner, THE PRACTICE OF

      CONSUMER LAW 39-40 (2nd ed. 2006).

15.   Congress investigated and determined that the banking system is dependent upon

      fair and accurate reporting, that inaccurate credit reports directly impair the


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      efficiency of the banking system, and that unfair credit reporting methods

      undermine the public confidence, which is essential to the continued functioning of

      the banking system. 15 U.S.C. § 1681(a)(1).

16.   The FCRA was created to “ensure fair and accurate credit reporting, promote

      efficiency, and protect consumer privacy.” Safeco Ins. Co. of America v. Burr, 551

      U.S. 47, 52 (2007).

17.   The FCRA was proposed in 1968 as an amendment to the original Truth in Lending

      Act. Senator Proxmire (D-WI) announced her intention to create legislation

      addressing the growing frequency of cases in which a consumer “is unjustly denied

      because of faults or incomplete information in a credit report,” and entered an initial

      draft of what would eventually become the FCRA into the Congressional Record.

      Anthony Rodriguez et al., FAIR CREDIT REPORTING 8 (5th ed. 2002) (citing 114

      Cong. Rec. 24904 (Aug. 2, 1968)) (emphasis added).

18.   Senator Proxmire listed five types of abuses requiring Congressional response,

      including biased or one-sided information and incomplete information. Anthony

      Rodriguez et al., FAIR CREDIT REPORTING 8 (5th ed. 2002) (citing 115 Cong. Rec.

      2411 (Jan. 31, 1969)).

19.   Congress considered inaccurate and misleading information to be the most serious

      problem. Anthony Rodriguez et al., FAIR CREDIT REPORTING 10 (5th ed. 2002).

20.   The FCRA applies to situations in which information relevant to a consumer’s

      “credit worthiness, credit standing, credit capacity, character, general reputation,

      personal characteristics, or mode of living” is collected. Anthony Rodriguez et al.,


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      FAIR CREDIT REPORTING 5 (5th ed. 2002) (citing 15 U.S.C. § 1681a(d)).

21.   An inaccurate or misleading credit report can not only significantly and unfairly

      lower a consumer’s credit worthiness, but can also prevent consumers from full

      access to the American marketplace and negatively impact a consumer’s living

      standard and general reputation on the whole if a consumer’s character and mode of

      living is not accurately portrayed. Congress enacted the FCRA to prevent this

      arbitrary and iniquitous result.

22.   Furthermore, in 1996, Congress, in an effort to increase the “accuracy and integrity”

      of information supplied to credit reporting agencies, added 15 U.S.C. § 1681s-2 to

      the FCRA by passing the Consumer Credit Reform Act. The provision,

      “[r]esponsibilities of furnishers of information to consumer reporting agencies,”

      subjected data furnishers, who were not previously covered by the FCRA, to

      requirements related to accuracy and the handling of consumer disputes. These

      provisions were originally scheduled to sunset in 2003 but were considered

      important enough to Congress to be made permanent in the Fair and Accurate Credit

      Transactions Act of 2003. (Federal Trade Commission Staff: 40 Years of

      Experience with the Fair Credit Reporting Act, pp. 1, 2, 92. Retrieved from the FTC

      website: http://www.ftc.gov/os/2011/07/110720fcrareport.pdf).

                             FACTUAL ALLEGATIONS

23.   Within one year immediately preceding the filing of this complaint, Defendants

      attempted to collect from Plaintiff a financial obligation that was primarily for

      personal, family or household purposes, and is therefore a “debt” as that term is


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      defined by 15 U.S.C. § 1692a(5), namely, an alleged obligation for an apartment

      rental in the State of Minnesota.

24.   Plaintiff disputes this alleged debt, the final bill on this account, and any remaining

      balance, and is represented by the undersigned counsel both with respect to this debt

      and to the claims made herein.

          ALLEGATIONS AS TO DEFENDANT HUNTER WARFIELD

            Defendant Hunter Warfield’s Illegal Add-On Charges to Debt

25.   Sometime on or before December 2020, Plaintiff incurred an alleged debt to Thomas

      Lake Point Apartments in Eagan, Minnesota (“Debt”) which was a $768 charge for

      alleged unpaid rent and damages after Plaintiff moved out of this apartment

      owned/controlled by Defendant Nationwide.

26.   Thomas Lake Point Apartments is a d/b/a for Defendant Nationwide.

27.   Plaintiff disputed this debt because Plaintiff had already paid $46.13 of it, which

      should have been taken off of the claimed amount, the remaining balance did not

      give Plaintiff a $250 credit to which she was entitled, and Plaintiff’s apartment

      building had been infested with cockroaches and mold for months as a result of

      Defendant Nationwide’s negligence.

28.   Defendant Hunter Warfield illegally added interest to this debt and falsely reported

      that interest as due and owing on this account on Plaintiff’s consumer credit reports,

      despite the fact that Plaintiff has vigorously disputed the basis and amount of this

      debt making it an unliquidated amount.




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29.   Plaintiff disagreed with the Defendant Hunter Warfield’s assertion about interest on

      this disputed debt, never agreed to pay this interest or the principal amount and

      refused to pay this alleged debt since her apartment was infested with cockroaches.

30.   In June 2021, Plaintiff reviewed her consumer credit reports and noted an entry from

      Defendant Hunter Warfield on her that indicated that this $768 apartment rental fee

      debt with Defendant Nationwide had now inexplicably increased to $781.

31.   Defendant Hunter Warfield repeatedly added interest and/or late fees on this alleged

      debt, increasing the debt from its original amount.

32.   The FDCPA prohibits to addition of any amount over and above the principal

      amount of the debt unless that additional amount is permitted by the contract

      underlying the debt or otherwise permitted by law.

33.   Plaintiff never agreed to pay interest in any amount on this alleged debt because she

      did not agree that she even owed the alleged debt for the apartment rental because

      she was driven out by cockroaches that Defendant Nationwide failed to properly

      mitigate, control, and eliminate. See Tate v. Ballard, 243 Minn. 353, 360, 68

      N.W.2d 261, 266 (1954) (“Liability for interest is purely contractual, and a person

      is not chargeable therewith unless he has agreed to its imposition. County of

      Redwood v. Winona & St. Peter Land Co., 40 Minn. 512, 41 N.W. 465, 42 N.W.

      473.”)

34.   There is no agreement between Plaintiff and Defendants underlying this debt that

      permitted these collection fees by Defendant Hunter Warfield and these fees are not

      otherwise permitted by law.


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35.   Defendant Hunter Warfield’s demands from Plaintiff for payment for amounts not

      due and owing on this obligation was fraud, because it intended that Plaintiff would

      rely on its representations as to the amount of additional interest on the obligation,

      and Plaintiff in fact relied on those material misrepresentations to Plaintiff’s

      detriment.

36.   It was a false and deceptive debt collection practice for Defendant Hunter Warfield

      to misrepresent the amount due and owing by Plaintiff for this debt.

37.   Defendant Hunter Warfield’s addition of at least $13 in late charges to Plaintiff’s

      alleged debt to Defendant Nationwide was also a violation of numerous and multiple

      provisions of the FDCPA with respect to Defendant Hunter Warfield.

38.   The above-described communications and conduct from Defendant Hunter

      Warfield toward Plaintiff represent numerous and multiple violations of the

      FDCPA, including but not limited to 15 U.S.C. §§ 1692d, 1692e, 1692e(2),

      1692e(5), 1692e(10), 1692e(11), 1692f, and 1692f(1), amongst others, as well as

      violations of Minnesota law.

39.   The above-described collection conduct by Defendant Hunter Warfield in its efforts

      to collect this alleged debt from Plaintiff were oppressive, deceptive, misleading,

      unfair and illegal communications in an attempt to collect this alleged debt, all done

      in violation of numerous and multiple provisions of the FDCPA.

40.   These collection actions taken by Defendant Hunter Warfield, and the collection

      employees employed by it, were made in violation of multiple provisions of the

      FDCPA, including but not limited to all of the provisions of those laws cited herein.


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41.   These violations by Defendant Hunter Warfield were knowing, willful, negligent

      and/or intentional, and it did not maintain procedures reasonably adapted to avoid

      any such violations.

42.   Defendant Hunter Warfield’s collection efforts with respect to this alleged debt from

      Plaintiff caused Plaintiff to suffer concrete and particularized harm because the

      FDCPA provides Plaintiff with the legally protected right to be treated fairly and

      truthfully with respect to any action for the collection of any consumer debt.

43.   Defendant Hunter Warfield’s deceptive, misleading and unfair representations with

      respect to its collection effort were material misrepresentations that affected and

      frustrated Plaintiff’s ability to intelligently respond to Defendant’s collection efforts

      because Plaintiff could not adequately respond to the Defendant’s demand for

      payment of this debt.

         Fair Credit Reporting Act Violations by Defendant Hunter Warfield

44.   Sometime on or about July 4, 2021, Plaintiff got notification from her credit

      monitoring service that Defendant Hunter Warfield had added a negative tradeline

      entry to her consumer credit reports.

45.   Plaintiff then began reviewing her credit reports.

46.   Plaintiff discovered that Defendant Hunter Warfield had added a collection tradeline

      entry on her Equifax Credit report for this alleged debt on or about July 4, 2021.

47.   Plaintiff thereafter obtained her FICO® score on September 28, 2021, and

      discovered that the addition of the Defendant Hunter Warfield’s negative tradeline

      for this alleged debt took her credit score down to 690, from 816, a huge drop of


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      126 points.

48.   On October 16, 2021, Plaintiff disputed this account Defendant Hunter Warfield

      had furnished to Equifax.

49.   Specifically, on October 16, 2021, Plaintiff filed a detailed written dispute with

      Equifax about this account listed by Defendant Hunter Warfield and included a

      detailed rendition of both the cockroach and mold conditions.

50.   Despite such written dispute under the FCRA from Plaintiff, Defendant Hunter

      Warfield has not removed the negative tradeline from Plaintiff’s Equifax credit

      report.

51.   Plaintiff disputed the false and fraudulent account information with Equifax credit

      reporting agency pursuant to 15 U.S.C. § 1681i.

52.   On or about October 16, 2021, Plaintiff disputed the Defendant Hunter Warfield’s

      negative tradeline of this alleged debt directly with the responsible credit reporting

      agency, Equifax, by doing a written online dispute of the item directly with it.

53.   Thereafter, upon good faith information and belief, Equifax forwarded Plaintiff’s

      dispute information to Defendant Hunter Warfield for investigation as required by 15

      U.S.C. § 1681(a)(2).

54.   Upon good faith information and belief, Equifax sent an automated consumer dispute

      verification (“ACDV”) to Defendant Hunter Warfield regarding the disputed account

      on this alleged debt.

55.   On or about October 26, 2021, Plaintiff received a letter back from Equifax

      indicating that it had received Plaintiff’s written dispute of this fraudulent account


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      but confirmed it as accurate with Defendant Hunter Warfield.

56.   According to Equifax, Defendant Hunter Warfield verified that the dispute account

      belonged to Plaintiff and was accurately reporting on her credit report, in violation

      of 15 U.S.C. § 1681s-2(b).

57.   Defendant Hunter Warfield’s reporting adversely and/or negatively affected

      Plaintiff’s credit profile when Defendant Hunter Warfield was aware that Plaintiff’s

      dispute was legitimate.

58.   Defendant Hunter Warfield violated 15 U.S.C. §1681s-2(b) when it received the

      notification of dispute from Equifax concerning the Plaintiff’s disputed account and

      thereafter failed to conduct a reasonable investigation and failed to delete the

      fraudulent account.

59.   Plaintiff obtained and reviewed her credit report again on November 8, 2021.

60.   Specifically, Plaintiff’s TransUnion credit report dated November 8, 2021, still

      contained the Defendant Hunter Warfield’s fraudulent account and still listed this

      collection account tradeline against Plaintiff.

61.   As a result of Defendant Hunter Warfield’s inaccurate and malicious reporting to

      the Equifax credit reporting agency that Plaintiff’s fraudulent account was accurate

      and in collections, Plaintiff has suffered reduced credit, emotional distress,

      embarrassment, frustration, distraction from work, loss of sleep, and anxiety

      constituting actual damages pursuant to 15 U.S.C. § 1681o(a)(1) and § 1681n.

62.   Plaintiff is entitled to attorney’s fees and costs from Defendant Hunter Warfield

      pursuant to 15 U.S.C. § 1681o(a)(2) and § 1681n.


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63.   Defendants’ false and negative credit reporting caused Plaintiff’s credit score to go

      down considerably during this time frame.

64.   Plaintiff’s credit profile, save and accept for Defendant Hunter Warfield’s reporting

      of the fraudulent account, is essentially impeccable and pristine.

65.   Plaintiff takes great care in working and guarding her credit report/score and is now

      embarrassed and humiliated that her score is not perfect as it should be without the

      Defendant Hunter Warfield’s adverse account.

66.   Defendants’ conduct has caused Plaintiff to delay refinancing opportunities to

      obtain the best possible rates and/or obtaining other credit until the Defendant

      Hunter Warfield’s adverse and harmful reporting is removed from her credit profile

      with Equifax.

              ALLEGATIONS AS TO DEFENDANT NATIONWIDE

            Breach of Contract, Warranty of Habitability, and Negligence

                                 by Defendant Nationwide

67.   The Minnesota Supreme Court recently held:

             The covenants of habitability, made a part of every lease in this state, are
             codified at section 504B.161, which states that landlords covenant, among
             other things:

                      (1) that the premises and all common areas are fit for the use intended
                      by the parties;

                      (2) to keep the premises in reasonable repair during the term of the
                      lease or license ...; [and]

                      (4) to maintain the premises in compliance with the applicable
                      health and safety laws of the state, and of the local units of
                      government ....


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            Minn. Stat. § 504B.161, subd. 1(a)(1)–(2), (4). The statute states that “[t]he
            parties to a lease or license of residential premises may not waive or modify
            the covenants imposed by this section.” Id., subd. 1(b). The statute further
            requires that “[t]her section shall be liberally construed,” id., subd. 3, and that
            “[t]he covenants contained in this section are in addition to any covenants or
            conditions imposed by law or ordinance or by the terms of the lease or
            license.” Id., subd. 4 (emphasis added).

      Ellis v. Doe, 924 N.W.2d 258, 261 (Minn. 2019) (bold emphasis added).

68.   A contract existed between Plaintiff and Defendant Nationwide.

69.   The contract was an apartment lease agreement executed between Plaintiff and

      Defendant Nationwide on or about October 31, 2019, for an apartment in Eagan,

      Minnesota (“Contract”).

70.   The Contract contained an explicit offer from Defendant Nationwide, a written

      acceptance by Plaintiff, and consideration in the form of rent paid by Plaintiff in

      exchange for an apartment supplied by Defendant Nationwide.

                                          Cockroaches

71.   Sometime in or around the summer of 2020, cockroaches arrived in Plaintiff’s

      apartment from an adjoining apartment unit. Here are three pictures of actual

      cockroaches that were infesting Plaintiff’s apartment:




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                  Fig. 1 – Various Cockroaches in Plaintiff’s Apartment

72.   The Federal Centers for Disease control has weighed in on the dangerous nature of

      cockroach infestations in housing:

            Housing-related health concerns include asthma episodes triggered by
            exposure to dust mites, cockroaches, pets, and rodents. The existence of
            cockroaches, rats, and mice mean that they can also be vectors for significant
            problems that affect health and well-being. They are capable of
            transmitting diseases to humans.
            …
            The cockroach is considered an allergen source and an asthma trigger for
            residents. Although little evidence exists to link the cockroach to specific
            disease outbreaks, it has been demonstrated to carry Salmonella
            typhimurium, Entamoeba histolytica, and the poliomyelitis virus. In addition,
            Kamble and Keith note that most cockroaches produce a repulsive odor that
            can be detected in infested areas. The sight of cockroaches can cause
            considerable psychologic or emotional distress in some individuals. They
            do not bite, but they do have heavy leg spines that may scratch.
            …
            As a group, they tend to prefer a moist, warm habitat because most are
            tropical in origin. Although some tropical cockroaches feed only on
            vegetation, cockroaches of public health interest tend to live in structures and
            are customarily scavengers. Cockroaches will eat a great variety of materials,
            including cheese and bakery products, but they are especially fond of starchy
            materials, sweet substances, and meat products.

            Cockroaches are primarily nocturnal. Daytime sightings may indicate


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             potentially heavy infestations. They tend to hide in cracks and crevices and
             can move freely from room to room or adjoining housing units via wall
             spaces, plumbing, and other utility installations.

      https://www.cdc.gov/nceh/publications/books/housing/cha04.htm       last   accessed

      October 14, 2021 (emphasis added; footnotes omitted).

73.   Plaintiff immediately notified Defendant Nationwide’s management of the

      cockroaches and demanded that it undertake appropriate extermination measures to

      eliminate them.

74.   Thereafter, Defendant Nationwide negligently failed to undertake effective and

      appropriate measures to eliminate these cockroaches from Plaintiff’s apartment

      rendering it essentially unlivable and constructively evicting Plaintiff from the

      premises because it refused to conduct a complete extermination effort throughout

      the entire building

75.   Plaintiff saw cockroaches in her kitchen, bathroom, bedroom and living areas for

      months and months.

76.   Plaintiff was emotionally traumatized by the fear of cockroaches on her food and in

      or around her bed as she slept and communicated her concerns to Defendant

      Nationwide.

                             Water Leaks and Black Mold

77.   In or around August 2020, Plaintiff discovered black mold growing on the ceiling

      of her apartment utility closet along with a wet floor in her apartment. Here is a

      picture of that mold in Plaintiff’s apartment:




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            FIG. 2 – Black Mold in Plaintiff’s Apartment Utility Closet

78.   Plaintiff complained to Defendant Nationwide’s management office about this mold

      immediately after discovering it.

79.   Plaintiff was advised by Defendant Nationwide’s maintenance employee that a

      tenant in the apartment above this mold had a leaky water heater in need of repair.

80.   Defendant Nationwide failed to offer the Plaintiff, or other tenants in the affected

      apartment building, alternative housing or hotels until this mold was fully mitigated

      and removed, and the leaky water heater was replaced.

81.   Defendant Nationwide failed to turn off the leaking water heater above Plaintiff’s




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      apartment which allowed the leaking to continue until the unit was replaced six days

      later.

82.   Plaintiff had several boxes stored in this utility closet which were damaged, and the

      contents rendered unusable and had to be thrown out.

83.   Instead, Defendant Nationwide simply spray-painted over this mold with a can of

      white paint and told Plaintiff that they were waiting for a new water heater to arrive

      the following week, but never removed the mold-infested and damaged wall board

      or ceiling, or further evaluated the damage that this water leak had caused to

      Plaintiff’s living space.

84.   The City of Eagan, Minnesota, Municipal Code provides in pertinent part:

               The operation of residential rental properties is a business
               enterprise that entails certain responsibilities. Owners and
               operators are responsible to take such reasonable steps as are
               necessary to ensure that the citizens of the city who occupy such rental
               properties may pursue the quiet enjoyment of the normal activities of
               life in their surroundings that are: safe, secure and sanitary; free from
               noise, nuisances or annoyances; and free from condition that
               endangers the health or safety of persons and security of property.

      City of Eagan, Minnesota Municipal Code Sec. 6.55, Subd. 1 (emphasis added).

85.   Eagan City Code also defines any unsanitary structure, such as the apartment

      building owned by Defendant Nationwide and rented by Plaintiff as part of the

      Contract, to be a public nuisance:

      Building and structure appearance and maintenance requirements.


               A.     Any building or structure other than accessory buildings on
               farms is a public nuisance if its exterior does not comply with the
               following requirements:


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                    1.     An owner, lessee, or occupant of property or a dwelling
                    may not allow the accumulation of dirt or filth on the exterior
                    premises occupied or controlled in a manner that could create
                    a health hazard to the dwelling occupants or the general public.
                    All exterior property and premises shall be maintained in
                    a clean, safe and sanitary condition.

      City of Eagan, Minnesota Municipal Code Sec. 10.53, Subd. 1 (emphasis added).

86.   Defendant Nationwide intentional and/or negligently failed to simultaneously

      provide extermination services to every apartment until in the Plaintiff’s building,

      thereby allowing the cockroaches to return to Plaintiff’s apartment.

87.   As a result, Plaintiff suffered from a cockroach infestation in her apartment for

      months, all the while Plaintiff paid $1,365 a month in rent to Defendant Nationwide.

88.   Defendant Nationwide also failed to take reasonable steps to prevent the spread of

      the second-floor cockroaches to Plaintiff’s first-floor unit as prescribed by its

      contracted pest extermination service, Guardian Pest Solutions.

89.   The exterminator told Plaintiff that the cockroaches had spread into Plaintiff’s first-

      floor apartment from a second-floor cockroach infestation that Defendant

      Nationwide had refused to properly mitigate over her objections.

90.   A manager employed by Defendant Nationwide was present in Plaintiff’s apartment

      when this specific conversation took place amongst Plaintiff, the exterminator, and

      the Defendant Nationwide’s employee.

91.   Defendant Nationwide failed to properly address the mold problems that Plaintiff

      identified by safely removing and cleaning up the mold and water damage.

92.   The CDC has also weighed in on the dangers of mold inside of dwellings:




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             It is recommended that porous materials (e.g., ceiling tiles, wallboards,
             and fabrics) that cannot be cleaned be removed and discarded. In severe
             cases, clean-up and repair of mold-contaminated buildings may be conducted
             using methods similar to those used for abatement of other hazardous
             substances such as asbestos. For example, in situations of extensive
             colonization (large surface areas greater than 100 square feet or where the
             material is severely degraded), extreme precautions may be required,
             including full containment (complete isolation of work area) with critical
             barriers (airlock and decontamination room) and negative pressurization,
             personnel trained to handle hazardous wastes, and the use of full-face
             respirators with HEPA filters, eye protection, and disposable full-body
             covering.

      https://www.cdc.gov/nceh/publications/books/housing/cha05.htm           last   accessed

      October 14, 2021 (emphasis added; footnotes omitted).

93.   Defendant Nationwide’s conduct, errors, and omissions, in failing to properly

      mitigate both the cockroaches and the mold issues in the Plaintiff’s apartment

      building resulted in a breach of the warranty of habitability and led to a reinfestation

      of cockroaches into Plaintiff’s apartment.

94.   Plaintiff’s person and personal property was exposed in the moldy and wet

      apartment closet that was part of the rental Contract she signed with Defendant

      Nationwide.

95.   Plaintiff’s person and personal property, including her food, clothing, bedding, and

      toiletries were exposed to cockroaches in the apartment that was basis of the rental

      Contract she signed with Defendant Nationwide.

96.   The debt at issue in this case arose directly out of Defendant Nationwide’s repeated

      assertions that Plaintiff owed this money under the Contract, despite its myriad

      breaches and Plaintiff repeated written and verbal disputes of this alleged debt.



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97.    Defendant Nationwide failed to promptly take reasonable cockroach-infestation

       mitigation steps—strongly recommended by its contracted exterminator, Guardian

       Pest Solutions—after they treated a cockroach-infested second floor unit, and as a

       direct result Plaintiff was subjected to months of living in an infested and unsafe

       apartment.

98.    Plaintiff was left without the use of the apartment’s kitchen for the last three months

       of the tenancy and was extremely fearful of cockroaches landing on her body during

       the night.

99.    Ultimately, Defendant Nationwide’s negligence and breach of the Contract caused

       Plaintiff to have to move out of the apartment entirely.

100.   Plaintiff incurred months of living with cockroaches in her bedroom, living, kitchen,

       and bathroom because of Defendant Nationwide’s negligence and its breach of the

       Contract.

101.   Plaintiff incurred several thousand dollars in rent and moving expenses as a result

       of this breach of Contract by Defendant Nationwide, including paying more than

       $4,800 rent while cockroaches roamed in her apartment and paying $608 in moving

       expenses to relocate herself.

102.   Instead of promptly and fully addressing the unsanitary and vile cockroach and mold

       situations in Plaintiff’s home, existing in violation of city code and state law,

       Defendant Nationwide instead sent Plaintiff to a debt collector after she moved out

       who thereafter damaged her excellent credit rating and began debt collecting from

       her.


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103.   Defendant Nationwide is not entitled to any monies during the time Plaintiff

       suffered from cockroaches and/or mold in her unsanitary apartment.

104.   Defendant breached its warranty of habitability, it breached the Contract, and it

       breached its duty of good faith and fair dealing with Plaintiff.

105.   Defendant Nationwide been unjustly enriched by Plaintiff as a result of its conduct

       and misconduct in this case.

106.   Plaintiff has suffered serious harm and damages as a result of being subjected to

       Defendant Nationwide’s negligence.

107.   Plaintiff has now been subjected to debt collections because Defendant Nationwide

       ignored Plaintiff’s warnings to properly exterminate its cockroach infestation, and

       remediate and clean up its mold infestation, as required by Eagan Municipal Code

       and state law, instead of properly carrying out its legal obligations to Plaintiff in her

       apartment building.

                Further Creation and Maintenance of a Nuisance Property

   by Defendant Nationwide in Violation of State and Federal Indoor Air Quality Law

108.   As further described above, Defendant Nationwide consistently failed to maintain

       the Plaintiff’s Rental Property in violation of city ordinances and thereby created a

       nuisance property to Plaintiff’s damage.

109.   In addition, Defendant Nationwide located and maintained a commercial garage

       exhaust fume chimney at ground level immediately outside of Plaintiff’s apartment.




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110.   Starting around June 2020, Plaintiff repeatedly and vocally objected to the

       continuous use of this exhaust vent located adjacent to the deck of her apartment

       because it spewed unfiltered car exhaust into her home.

111.   Below as Fig. 3 and 4 are pictures of Defendant Nationwide’s exhaust vent that was

       located approximately 10 feet from the back of Plaintiff’s apartment deck.

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 FIG. 3 and 4 – Garage Exhaust Vent Outside Plaintiff’s Apartment Deck




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112.   Despite Plaintiff’s repeated complaints to Defendant Nationwide’s management

       about this car exhaust chimney and the associated exhaust fumes pouring into her

       home, Defendant Nationwide did nothing to abate this nuisance but instead caused

       even more of a nuisance by manually running the system, almost continuously.

113.   Plaintiff had a right to an apartment that was not subject to poisonous automobile

       exhaust intrusion on a near-continual basis into her apartment.

114.   Defendant Nationwide could have and should have either entirely relocated this

       exhaust vent to another location of raised it far off of the ground to permit the

       elimination of these dangerous exhaust fumes that entered Plaintiff’s apartment.

115.   Instead, Defendant Nationwide created and maintained this nuisance in the form of

       an exhaust vent at ground level outside Plaintiff’s deck, all to Plaintiff’s detriment.

116.   The location of this exhaust violates Minnesota Mechanical code laws which

       specifies in pertinent part:

              501.3 Exhaust Discharge
              The air removed by every mechanical exhaust system shall be discharged
              outdoors at a point where it will not cause a nuisance and not less than the
              distances specified in IMC Section 501.3.1. The air shall be discharged to
              a location from which it cannot again be readily drawn in by a
              ventilating system. Air shall not be exhausted into an attic or crawl space
              and the exhaust system shall be equipped with a backdraft damper at the point
              of discharge.

       https://up.codes/viewer_export/juris_key/minnesota/pub/minnesota_mechanical_c
       ode_2015/ref/501.3 (bold underline added). Last Accessed November 7, 2021.




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117.   The exhaust from Defendant Nationwide’s vent caused Plaintiff to suffer actual

       harm in the form of eye irritation, difficulty breathing in her apartment, and the

       inability to enjoy the outside deck of her apartment as other tenants did.

118.   Defendant Nationwide’s employees operated this vent immediately outside

       Plaintiff’s apartment illegally because Minnesota Law requires venting systems like

       this either to run continually or to be triggered by fume sensors.

119.   Pertinent Minnesota law states:

              404.1 Enclosed parking garages. Mechanical ventilation systems for
              enclosed parking garages shall operate automatically upon detection of
              certain gas concentrations. Enclosed parking garages shall be equipped
              with a carbon monoxide (CO) detector and a nitrogen dioxide (NO2) detector.
              The mechanical ventilation system shall activate upon detection of a CO
              level of 25 parts per million (ppm) or greater, a NO2 level of 3 ppm or greater,
              or both. Such detectors shall be listed in accordance with UL 2075 and
              installed in accordance with their listing and manufacturers' instructions.


       Minn.Admin.R. 1346.0404 SECTION 404 GARAGES (bold underline added).

120.   In fact, Defendant Nationwide’s employees operated this garage ventilation system

       manually, by turning it on and off at their discretion, and in violation of Minnesota

       law and thereby created a hazardous nuisance property, all to Plaintiff’s detriment.

121.   The federal Environmental Protection Agency (“EPA”) regulates indoor air quality

       within apartments such as Defendant Nationwide’s building, and has issued

       warnings about automobile exhaust entering enclosed living spaces:

              Combustion odors can indicate the existence of a serious problem. One
              combustion product, carbon monoxide, is an odorless gas. Carbon
              monoxide poisoning can be life-threatening.




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       Building Air Quality: A Guide for Building Owners and Facilities Managers

       (December 1991), p. 100, available at https://www.epa.gov/sites/default/files/2014-

       08/documents/iaq.pdf, last accessed November 12, 2021.

122.   The EPA has elegantly explained the factors affecting indoor air quality such as the

       Plaintiff’s apartment living space:

               The indoor environment in any building is a result of the interaction between
               the site, climate, building system (original design and later modifications in
               the structure and mechanical systems), construction techniques, contaminant
               sources (building materials and furnishings, moisture, processes and
               activities within the building, and outdoor sources), and building occupants.

               The following four elements are involved in the development of indoor air
               quality problems:

               Source: there is a source of contamination or discomfort indoors, outdoors,
               or within the mechanical systems of the building.

               HVAC: the HVAC system is not able to control existing air contaminants
               and ensure thermal comfort (temperature and humidity conditions that are
               comfortable for most occupants).

               Pathways: one or more pollutant pathways connect the pollutant source to
               the occupants and a driving force exists to move pollutants along the
               pathway(s).

               Occupants: building occupants are present. It is important to understand the
               role that each of these factors may play in order to prevent, investigate, and
               resolve indoor air quality problems.

               It is important to understand the role that each of these factors may play in
               order to prevent, investigate, and resolve indoor air quality problems.

       Id. at p.5.

123.   In fact, some of the specific (and commonsense) recommendations that the EPA has

       for dealing with automobile exhaust entering buildings from underground garages



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       adjacent occupied spaces include “modify[ing] the venting or HVAC system to

       prevent backdrafting.” Id. at p.100.

124.   Despite the ready availability of the EPA’s federal regulation, rules, guidelines, and

       requirements about the abatement of dangerous gases such as carbon monoxide

       produced automobiles in underground parking garages, like those found at

       Defendant Nationwide’s garage, Defendant Nationwide ignored its responsibilities

       to properly mitigate these harms to Plaintiff and instead maintained an on-going

       nuisance to her health in violation of state and federal law air quality laws.

                                     TRIAL BY JURY

125.   Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues

       so triable.

                                  CAUSES OF ACTION

                                         COUNT I.

       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                  15 U.S.C. § 1692 et seq.

                        (DEFENDANT HUNTER WARFIELD)

126.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

       though fully stated herein.

127.   The foregoing acts and omissions of Defendant Hunter Warfield and its agents

       constitute numerous and multiple violations of the FDCPA including, but not

       limited to, each and every one of the above-cited provisions of the FDCPA, 15

       U.S.C. § 1692 et seq., with respect to Plaintiff.


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128.   As a result of Defendant Hunter Warfield’s violations of the FDCPA, Plaintiff is

       entitled to statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C. §

       1692k(a)(2)(A); and, reasonable attorney’s fees and costs pursuant to 15 U.S.C. §

       1692k(a)(3), from Defendant herein.

                                         COUNT II.

             VIOLATIONS OF THE FAIR CREDIT REPORTING ACT

                                     U.S.C. § 1681 et seq.

                        (DEFENDANT HUNTER WARFIELD)

129.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

       though fully stated herein.

130.   Defendant Hunter Warfield violated 15 U.S.C. § 1681s-2(b) by failing to conduct a

       reasonable investigation with respect to the disputed information, failing to review

       all relevant information available to it and documentation provided by Plaintiff, and

       failing to update and/or remove the inaccurate tradeline or, in the alternative, to

       report the account as “disputed” by changing the Metro II CCC (Compliance

       Condition Codes) Code to “XB.”

131.   As a result of Defendant Hunter Warfield’s violations of the FCRA, Plaintiff has

       suffered actual damages not limited to out-of-pocket expenses, detriment to her

       credit rating, emotional distress, embarrassment, mental anguish, anxiety, and

       humiliation in an amount to be determined at trial.




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132.   Defendant Hunter Warfield’s conduct, actions, and inactions were willful, rendering

       it liable for damages in an amount to be determined by the Court pursuant to 15

       U.S.C. § 1681n.

133.   Alternatively, Defendant Hunter Warfield’s violations were negligent, rendering it

       liable for damages under 15 U.S.C. § 1681o.

134. Plaintiff is entitled to recover actual damages, statutory damages, and costs and

       attorneys’ fees from Defendant Hunter Warfield in an amount to be determined by

       the Court pursuant to 15 U.S.C. §§ 1681n and 1681o.

                                       COUNT III.

                                          FRAUD

                         (DEFENDANT HUNTER WARFIELD)

135.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

       though fully stated herein.

136.   The Minnesota Court of Appeals has held:

              A prima facie case of fraudulent misrepresentation requires the
              plaintiff to establish that

                     (1) there was a false representation by a party of a past or
                     existing material fact susceptible of knowledge; (2) made with
                     knowledge of the falsity of the representation or made as of the
                     party's own knowledge without knowing whether it was true or
                     false; (3) with the intention to induce another to act in reliance
                     thereon; (4) that the representation caused the other party to act
                     in reliance thereon; and (5) that the other party suffered
                     pecuniary damage as a result of the reliance.

              Hoyt Props., Inc., 736 N.W.2d at 318 (quotation omitted). “A
              misrepresentation may be made either (1) by an affirmative statement
              that is itself false or (2) by concealing or not disclosing certain facts


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              that render the facts that are disclosed misleading.” M.H. v. Caritas
              Family Servs., 488 N.W.2d 282, 289 (Minn.1992).

       Beckman v. Wells Fargo Bank, N.A., No. A15-1819, 2016 WL 5640664, at *5–6

       (Minn. Ct. App. Oct. 3, 2016).

137.   During the collection communications transmitted by Defendant Hunter Warfield

       to Plaintiff in the past year, Defendant Hunter Warfield repeatedly and falsely

       represented to that Plaintiff was obligated to pay interest and other charges on these

       obligations in excess of the amounts permitted by Minnesota law, when, in material

       fact, Plaintiff was not so obligated.

138.   Defendant Hunter Warfield knew that the alleged debt it was attempting to collect

       from Plaintiff had been padded with illegal and impermissible collection fees, and

       that therefore Plaintiff had no legal obligation to pay it, but it withheld that fact from

       Plaintiff and instead told Plaintiff that she must pay it.

139.   As a licensed Minnesota collection agency, Defendant Hunter Warfield knew or

       should have known that it had no right to add impermissible collection fees under

       the FDCPA or fees that were not provided under the contract or otherwise permitted

       by law. See Kojetin v. C U Recovery, Inc., 212 F.3d 1318 (8th Cir. 2000).

140.   Plaintiff has suffered actual pecuniary damages as a result of this Defendant Hunter

       Warfield’s deliberate fraudulent misrepresentations of these material facts.

141.   Defendant Hunter Warfield’s misrepresentations that Plaintiff owed this increasing

       amount, when Plaintiff in fact did not, were material misrepresentations of fact




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       because they influenced Plaintiff’s judgment and decisions regarding how to deal

       with the alleged debt.

142.   Defendant Hunter Warfield knew that its misrepresentations to Plaintiff were false

       at the time Defendant Hunter Warfield made them.

143.   Defendant Hunter Warfield’s misrepresentations were made intending that Plaintiff

       would rely on them.

144.   Plaintiff reasonably relied upon and acted upon Defendant Hunter Warfield’s

       misrepresentations and suffered damages in wasted time seeking legal advice and

       the costs of litigation in this matter to vindicate Plaintiff’s rights under the FDCPA,

       as well as other damages, including lost work time, upset, frustration,

       embarrassment, and stress.

                                        COUNT IV.

                                     NEGLIGENCE

                             (DEFENDANT NATIONWIDE)

145.   Plaintiff incorporates by reference all the above paragraphs of this Complaint as

       though fully stated herein.

146.   The foregoing acts and omissions of Defendant Nationwide and its agents constitute

       negligence with respect to Plaintiff.

147.   As a result of Defendant Nationwide’s negligence, Plaintiff is entitled to actual

       damages and reasonable attorney’s fees and costs pursuant to Minnesota Law, from

       Defendant Nationwide.

                                        COUNT V.


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                               BREACH OF CONTRACT

                            (DEFENDANT NATIONWIDE)

148.   Plaintiff incorporates by reference all the above paragraphs of this Complaint as

       though fully stated herein.

149.   Plaintiff had a contract in the form of an offer by Defendant Nationwide to provide

       a clean and sanitary apartment, and acceptance by Plaintiff of that offer, and

       consideration exchanged between the parties.

150.   The foregoing acts and omissions of Defendant Nationwide and its agents constitute

       breach of contract with respect to Plaintiff.

151.   As a result of Defendant Nationwide’s breach of contract, Plaintiff is entitled to

       actual damages and reasonable attorney’s fees and costs pursuant to Minnesota Law,

       from Defendant Nationwide herein.

                                        COUNT VI.

                 BREACH OF GOOD FAITH AND FAIR DEALING

                            (DEFENDANT NATIONWIDE)

152.   Plaintiff incorporates by reference all the above paragraphs of this Complaint as

       though fully stated herein.

153.   Defendant Nationwide had a duty to act in good faith by properly maintaining

       Plaintiff’s apartment and ensuring it was free of cockroaches.

154.   Defendant Nationwide negligently failed in these duties and failed to maintain any

       reasonable systems that would have prevented such failures against Plaintiff.

155.   Defendant Nationwide breached its duty to act in good faith by intentionally failing


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       to comply with city and state laws governing the habitability of Plaintiff’s

       apartment.

156.   Plaintiff has been seriously damaged by Defendant Nationwide’s multiple breaches

       of good faith and fair dealing in this Contract and is entitled to actual damages,

       compensatory damages, expectancy damages, costs and attorney’s fees.

                                       COUNT VII.

                                UNJUST ENRICHMENT

                            (DEFENDANT NATIONWIDE)

157.   Plaintiff incorporates by reference all the above paragraphs of this Complaint as

       though fully stated herein.

158.   Defendant Nationwide has been unjustly enriched by retaining Plaintiff’s funds

       while she was forced to live in an unsanitary apartment infested with cockroaches.

159.   Defendant Nationwide is not entitled to that benefit.

160.   It would be unjust to allow Defendant Nationwide to retain that benefit.

161.   Plaintiff is entitled to judgment against Defendant Nationwide in an amount to be

       proven at trial for this unjust enrichment.

                                       COUNT VIII.

                     NUISANCE DAMAGES - Minn.Stat. § 561.01

                            (DEFENDANT NATIONWIDE)

162.   Plaintiff incorporates by reference all the above paragraphs of this Complaint as

       though fully stated herein.

163.   Plaintiff is entitled to actual damages for the nuisance conditions caused by


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       Defendant Nationwide pursuant to Minnesota Statutes § 561.01, at a jury trial on

       the merits.

164.   Plaintiff has stated an actionable claim in nuisance against Defendant Nationwide

       by presenting evidence that the Defendant Nationwide has intentionally maintained

       a condition causing nuisance harm.

165.   A claim of private nuisance does not require proof that the nuisance harm resulted

       from a “wrongful” act except to the extent the Plaintiff must prove fault on the part

       of the Defendant. Wendinger v. Forst Farms, Inc., 662 N.W.2d 546

       (Minn.App.2003), review denied.

166.   Minn.Stat. § 561.01 states:

              Anything which is injurious to health, or indecent or offensive
              to the senses, or an obstruction to the free use of property, so
              as to interfere with the comfortable enjoyment of life or
              property, is a nuisance. An action may be brought by any
              person whose property is injuriously affected or whose
              personal enjoyment is lessened by the nuisance, and by the
              judgment the nuisance may be enjoined or abated, as well as
              damages recovered.

167.   Defendant Nationwide’s refusal to properly exterminate dangerous cockroaches, to

       mitigate dangerous mold, and to eliminate a dangerous and obnoxious underground

       garage exhaust vent immediately outside of Plaintiff’s apartment each constitute a

       “nuisance” to Plaintiff, all to Plaintiff’s damage.

168.   Defendant Nationwide’s apartment was harmful to the health of Plaintiff, indecent

       and offensive to the Plaintiff’s senses, and was an obstruction to the free use of the

       Plaintiff’s apartment, which caused an immediate danger to Plaintiff and any of her



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       guests, all to Plaintiff’s damage.

169.   By creating and maintaining these nuisances, Defendant Nationwide caused an

       immediate and substantial harm to Plaintiff’s free and fair use of her apartment, all

       to Plaintiff’s damage.

170.   Defendant Nationwide’s nuisances materially and substantially interfered with the

       comfortable enjoyment of life or property for Plaintiff in comparison with the

       standards of ordinary people in the area in which the Plaintiff’s apartment was

       located, all to Plaintiff’s damage.

171.   Defendant Nationwide intentionally and wrongfully created this nuisance rental

       property by purposely causing these nuisances, by knowing that its conduct and

       failure to act were the proximate cause of the nuisances, and by knowing that these

       nuisances were substantially certain to result, all to Plaintiff’s damage.

172.   Defendant Nationwide negligently created each nuisance by directly causing the

       nuisance by their failure to use reasonable care, all to Plaintiff’s damage.

173.   Defendant Nationwide was negligent because they have allowed these malignant

       nuisance conditions to occur on the rental property, which is something a reasonable

       person would not do in similar circumstances, all to Plaintiff’s damage.

174.   Defendant Nationwide has failed to do something a reasonable person would do in

       similar circumstances, namely, to properly maintain this rental property, all to

       Plaintiff’s damage.

175.   Plaintiff is therefore entitled to an award of actual damages for the nuisance

       conditions caused by Defendant Nationwide pursuant to Minnesota Statutes §


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       561.01, in an amount in an amount to be determined by jury, together with costs and

       disbursements herein and such other relief as the Court deems appropriate.

                                       COUNT IX.

                               DECLARATORY RELIEF

                                 (ALL DEFENDANTS)

176.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

       though fully stated herein.

177.   An actual controversy has arisen and now exists between and amongst Plaintiff,

       Defendant Hunter Warfield and Defendant Nationwide concerning their respective

       rights and duties in that Plaintiff contends that Defendant Nationwide breached its

       contract with Plaintiff and violated city and state laws with respect to trying to

       charge her rent for a cockroach-infested apartment, and Defendant Hunter Warfield

       violated federal law it its attempts to collect this debt; and, whereas Defendant

       Nationwide apparently disputes this contention and by its conduct contends that it

       had no duties to Plaintiff and that Plaintiff owes these remaining amounts that it has

       sent to debt collections, namely, Defendant Hunter Warfield.

178.   Plaintiff desires a judicial determination of Defendant Nationwide’s and and

       Defendant Hunter Warfield’s rights and duties, and if they so exist, the extent of the

       liability of Plaintiff to Defendant Nationwide and Defendant Hunter Warfield, if

       any, and vice versa.

179.   A judicial declaration is necessary and appropriate at this time under the

       circumstances in order that Plaintiff may ascertain Plaintiff’s rights and duties


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       because Plaintiff’s personal business affairs are seriously impaired by and

       Defendant Hunter Warfield’s continued collection efforts of Defendant

       Nationwide’s alleged debt, and Plaintiff is otherwise suffering a financial burden by

       this unsettled state of affairs with these Defendants.

180.   Plaintiff has already suffered from damage by having to move out of her apartment

       because it was cockroach and mold-infested, has had her credit damaged, and has

       been subjected to debt collection activity by these Defendants.

181.   Declaratory relief is therefore appropriate in order to bring peace to the parties and

       prevent either of these Defendants from causing further unwarranted and unjust

       damage to Plaintiff.

                                        COUNT X.

                       RESPONDEAT SUPERIOR LIABILITY

                                  (ALL DEFENDANTS)

182.   The acts and omissions herein of the individuals employed by these Defendants, and

       those employed as agents of each Defendant, who acted or failed to act with respect

       to Plaintiff as further described herein, were committed within the time and space

       limits of their agency relationship with their principals, the Defendants.

183.   The acts and omissions by these individuals were incidental to, or of the same

       general nature as, the responsibilities these agents were authorized to perform by

       these Defendants.

184.   By committing these acts and omissions against Plaintiff, these individuals were

       motivated to benefit their principals, the Defendants.


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185.   Each Defendant is therefore liable to Plaintiff through the Doctrine of Respondeat

       Superior for the intentional and negligent acts, errors, and omissions done in

       violation of city, state and federal law by their employees, including but not limited

       to violations of the laws cited herein in with respect to Plaintiff.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered as follows:

                          As to Defendant Hunter Warfield Only

       • for an award of actual and statutory damages of $1,000.00 pursuant to 15 U.S.C.

          §1692k(a)(2)(A) against Defendant Hunter Warfield and for Plaintiff;

       • for an award of costs of litigation and reasonable attorney’s fees pursuant to 15

          U.S.C. § 1692k(a)(3) against Defendant Hunter Warfield and for Plaintiff;

       • for an award of actual, statutory and punitive damages, and costs and attorneys’

          fees against Defendant Hunter Warfield for violations of the FCRA and for

          Plaintiff, pursuant to 15 U.S.C. §§ 1681n and 1681o, in an amount to be

          determined at trial;

       • for actual damages for fraud that were directly caused by relying on the

          fraudulent misrepresentations made by Defendant Hunter Warfield to Plaintiff

          regarding this alleged debt;

                             As to Defendant Nationwide Only

       • for actual and compensatory damages for Negligence in a reasonable amount to

          be determined by a jury, against Defendant Nationwide;




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• for actual and compensatory damages, expectancy damages, costs of litigation

    and attorney’s fees for Breach of Contract in a reasonable amount to be

    determined by a jury, against Defendant Nationwide;

• for actual and compensatory damages, expectancy damages, costs of litigation

    and attorney’s fees for Breach of Good Faith and Fair Dealing in a reasonable

    amount to be determined by a jury, against Defendant Nationwide;

• for actual and compensatory damages, expectancy damages, costs of litigation

    and attorney’s fees for Unjust Enrichment in a reasonable amount to be

    determined by a jury, against Defendant Nationwide;

• for actual and compensatory damages, expectancy damages, costs of litigation

    and attorney’s fees for Nuisance under Minn.Stat. § 561.01 in a reasonable

    amount to be determined by a jury, against Defendant Nationwide;

                           As to Both Defendants

•   for a judgment and decree and decree that Defendants have engaged in the

    conduct alleged above, entering Judgment in favor of Plaintiff, and making a

    judicial determination that Plaintiff owes nothing to these Defendants;

•   for all actual compensatory damages suffered;

• for all other recoveries and fees otherwise permitted by these claims and by law;

• for attorney’s fees and costs of suit as provided by state and federal;

• for both pre- and post-judgment interest at the maximum allowable rate on any

    amounts awarded;




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     • and for such other and further relief as may be just and proper.


                                            Respectfully submitted,

                                            THE BARRY LAW OFFICE, LTD

Dated: November 16, 2021                    By: s/ Peter F. Barry
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NOTICE TO PRESERVE ALL DOCUMENTS, RECORDINGS, AND TANGIBLE
THINGS, AND ALL ELECTRONICALLY STORED INFORMATION (“Notice”)


To the Defendant(s) Above:

As you know, this law firm has been retained to represent the Plaintiff in the above
captioned matter (“Lawsuit”). As used in this notice, the terms “you” and “your” refer
to the Defendant(s) above-named and their predecessors, successors, parents, subsidiaries,
divisions and affiliates and its respective officers, directors, agents, attorneys, accounts,
employees, partners, contractors and other persons occupying similar positions or
performing any functions on behalf of Defendant.

My client respectfully demands that you preserve all recordings, documents, tangible
things and electronically stored information that are in anyway relevant to the
Lawsuit. A civil suit has been commenced against you by my client in the District Court
herein, related to the matters described herein.

You have a legal duty to preserve evidence in this matter. This duty to preserve
evidence exists not only after the formal commencement of litigation, but whenever a party
knows or should know that litigation is reasonably foreseeable. The Minnesota Supreme
Court has specifically addressed this issue:

       We have said that the spoliation of evidence is the “failure to preserve
       property for another's use as evidence in pending or future
       litigation.” Federated Mut. Ins. Co. v. Litchfield Precision Components,
       Inc., 456 N.W.2d 434, 436 (Minn.1990) (quoting County of Solano v.
       Delancy, 264 Cal.Rptr. 721, 724 n. 4 (Cal.Ct.App.1989)). Further, we have
       recognized that, regardless of whether a party acted in good or bad faith, “the
       affirmative destruction of evidence has not been condoned.” Patton, 538
       N.W.2d at 119. The duty to preserve evidence2 exists not only after the
       formal commencement of litigation, but whenever a party knows or should
       know that litigation is reasonably foreseeable. See id. at 118–19. Breach of
       the duty to preserve evidence once such a duty arises may be sanctioned,
       under a court's inherent authority, as spoliation. See id. at 118. Here, we
       specifically reaffirm our rule that custodial parties have a duty to preserve
       relevant evidence for use in litigation. Id. at 116. We also reaffirm our
       previously stated rule that, even when a breach of the duty to preserve
       evidence is not done in bad faith, the district court must attempt to remedy
       any prejudice that occurs as a result of the destruction of the evidence. Id.

Miller v. Lankow, 801 N.W.2d 120, 127–28 (Minn. 2011)



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Once a duty to preserve evidence has arisen, the breach of that duty may subject a
party to sanctions under a court's inherent authority as spoliation. "Courts have long
afforded redress for the destruction of evidence * * *." Federated Mut. Ins. Co. v. Litchfield
Precision Components, Inc., 456 N.W.2d 434, 436 (Minn.1990).

Much of the information that is subject to disclosure or responsive to discovery in this
case may be stored on your current and former computer systems and other media
and devices, including personal digital assistants, voice messaging systems, online
repositories, telephone recording systems, hard drives and cell phones. The term
Electronically Stored Information (hereinafter “ESI”) should be afforded the broadest
possible meaning and includes (by way of example and not as an exclusive list) potentially
relevant information electronically, digitally, magnetically, optically or otherwise stored
as:

        • Audio and/or video records of any telephone calls and conversations
          made related to the events described in the Lawsuit
        • digital communications (for example email, voicemail, imaging,
          scanning, and/or instant messaging);
        • email service stores and server information (for example SQL Server,
          Oracle, Dropbox, Box, lotus, domino.nsf, Microsoft exchange.edb,
          Google Corporate Gmail, etc.);
        • word processing documents (for example Microsoft Word or
          WordPerfect files and all drafts thereof);
        • spreadsheets and tables;
        • accounting application data;
        • imaging and facsimile files;
        • recordings of any conversations with my client;
        • phone records of any calls to my client;
        • databases (for example Access, Oracle, SQL Server data);
        • Contact and relationship data management (for example Outlook, Ask or
          Interaction);
        • Calendar and diary application data;
        • online access data (for example temporary internet files, history files and
          cookies);
        • presentations (for example PowerPoint and Corel presentations);
        • network access and server activity logs relating to information exchanged
          between you and third parties, and by you with third parties;
        • project management application data;
        • backup and archival files;
        • letters, documents, or correspondence of whatever kind related to existing
          loss prevention policies, and changes, updates, alterations made to loss
          prevention policies for the past three (3) years


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My client hereby demands that you preserve both accessible and inaccessible ESI.
This demand is reasonable and necessary. Pursuant to the Rules of Civil Procedure, in the
event of an eventual civil suit you must identify all sources of ESI you decline to produce
and demonstrate why such sources are not reasonably accessible. For good cause shown
in that event, the Court may order production of ESI even if it is not reasonably accessible.
Accordingly, you must preserve ESI that you deem inaccessible so as not to preempt the
Court’s authority.

Preservation requires your immediate intervention. You must act immediately to
preserve potentially relevant ESI, including, without limitation, information and the earlier
of a created or last modified date for ESI concerning any activity, updates, changes,
alterations, or modifications to the information maintained by you related to the events
described in the above-referenced lawsuit, through the date of this demand. Adequate
preservation of ESI requires more than simply refraining from efforts to destroy or dispose
of such evidence. You must immediately intervene to prevent loss due to routine
operations or malfeasance and employ proper techniques and protocols to preserve ESI.
Booting a drive, examining its contents or running any application may irretrievably alter
the evidence contained therein and constitute spoliation of evidence.

You are also directed to immediately initiate a litigation hold for potentially relevant
ESI, documents and tangible things, and to act diligently and in good faith to secure
and audit compliance with that litigation hold. You are further directed to immediately
identify and modify or suspend features of your information systems and devices, which,
in routine operation, operate to cause the loss of potentially relevant ESI. Examples of
such features and operations that could result in spoliation include:

          • purging the contents of email repositories by age, capacity or any other
            criteria
          • using data or media wiping, disposal, erasure of encryption utilities or
            devices
          • overriding erasing, destroying or discarding backup media
          • reassigning, re-imaging or deposing of systems, servers, devices or media
          • running antivirus or other programs affecting wholesale metadata alteration
          • releasing or purging online storage repositories
          • using metadata stripper utilities
          • disabling server, packet or local instant messaging login
          • executing drive or file defragmentation or compression programs
          • shredding or other destruction of documents, routine or otherwise

You should anticipate that your officers, employees, or others may seek to hide,
destroy or alter ESI. This is not a concern that is unique to you or your organization.



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Rather it is simply conduct that occurs with such regularity that any custodian of ESI and
their counsel must anticipate and guard against its occurrence. You are directed to preserve
complete backup tape sets (including differentials and incrementals) containing recordings,
emails and ESI for any person involved in the activity, updates, changes, alterations, or
modifications to the information maintained by you related to the events described in the
above-referenced lawsuit, through the date of this demand, whether inside or outside of
your organization and control. You should also take affirmative steps to prevent anyone
with access to your data, systems or archives from seeking to modify destroy or hide ESI.

As an appropriate and cost-effective means of preservation, you should remove from
service and securely sequester the systems, media and devices housing potentially
relevant ESI. In the event that you deem it impractical to sequester those systems, we
believe that the breadth of preservation required, coupled with the modest number of
systems implicated, dictates that forensically sound imaging of the systems identified
above is expedient and cost effective. As we anticipate the need for forensic examination
of one or more of the systems and the presence of relevant evidence in forensically
accessible areas of the drives, we demand that you employ forensically sound ESI
preservation methods. Failure to use such methods imposes a significant threat of
spoliation and data loss. Be advised that a conventional copy, backup or ghosting of a hard
drive does not produce a forensically sound image because it only captures active, unlocked
data files and fails to preserve forensically significant data.

You should anticipate that certain ESI, including but not limited to recordings,
spreadsheets and databases will be sought in the forms or form in which it was
ordinarily maintained, that is in native form. Accordingly, you should preserve ESI in
such native forms and should not employ methods to preserve ESI that remove or degrade
the ability to search ESI by electronic means or that make it difficult or burdensome to use
that information.

You should further anticipate the need to disclose and produce system and
application metadata and act to preserve it. System metadata is information describing
the history and characteristics of other ESI. This information is typically associated with
tracking or managing an electronic file and often includes data reflecting a file’s name,
size, custodian, location and dates of creation and last modification or access. Metadata
may be overwritten or corrupted by careless handling or improper preservation, including
by moving, copying or examining the contents of files. As hard copies do not preserve
electronic search ability or metadata, they are not an adequate substitute for, or cumulative
of, electronically stored versions. If information exists in both electronic and paper forms,
you should preserve both the forms.

We desire to work with you to agree upon an acceptable protocol for forensically
sound preservation and can supply a suitable protocol if you will furnish an inventory
and description of the systems and media to be preserved. Alternatively, if you


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promptly disclose the preservation protocol you intend to employ, perhaps we can now
identify any points of disagreement and resolve them.

A successful and compliant ESI preservation effort requires expertise. If you do not
currently have such expertise, we urge you to engage the services of an expert in electronic
evidence and computer forensics. Perhaps our respective experts can work cooperatively
to secure a balance between evidence preservation and burden that is fair to both sides and
acceptable to the Court. I am available to discuss reasonable preservation steps; however,
you should not defer preservation steps pending such discussions if ESI may be lost or
corrupted as a consequence of delay. Should your failure to preserve potentially relevant
evidence result in the corruption, loss or delay of production of evidence to which we are
entitled, that failure would constitute spoliation of evidence.

Please confirm in writing no later than five (5) business days from the date of this
Notice, that you have taken the steps outlined in this Notice to preserve ESI and
tangible documents potentially relevant to this pending action. If you have not
undertaken the steps outlined above, or have taken other actions, please describe what you
have done to preserve potentially relevant evidence.

If you retain legal counsel with respect to these matters, please direct this Notice to their
immediate attention. Thank you for your anticipated cooperation in this vital matter.




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